50 F.3d 8
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence TEARL, Plaintiff-Appellant,v.Ronald F. MOATS, Warden, (RCI);  Sharon Alden, PHS SiteAdmin.;  Medical Staff, RCI;  Prison Health Services,Incorporated, In persons, individual and separately in theirofficial capacity, Defendants-Appellees.
    No. 95-6002.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 16, 1995.Decided:  March 22, 1995.
    
      Lawrence Tearl, Appellant Pro Se.
      Before HAMILTON and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint and denying his motion for reconsideration.  Our review of the record and the district court's opinions discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Tearl v. Moats, No. CA-94-3222-N (D. Md. Nov. 29, 1994 &amp; Dec. 14, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    